Case 4:24-cv-00033-ALM Document 22 Filed 07/24/24 Page 1 of 2 PageID #: 120




                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    SHERMAN DIVISION

   THOMAS DOUGHERTY,                           §
                                               §
          Plaintiff,                           §
                                               §
   v.                                          §          Civil Action. 4:24-cv-33-ALM
                                               §
   EQUIFAX INFORMATION                         §
   SERVICES, LLC, and BMW                      §
   FINANCIAL SERVICES N.A., LLC,               §
                                               §
           Defendants,                         §

                   NOTICE OF PENDING SETTLEMENT AS TO
               DEFENDANT EQUIFAX INFORMATION SERVICES, LLC
        Plaintiff THOMAS DOUGHERTY, by and through his undersigned counsel, hereby

submits this Notice of Pending Settlement and states that Plaintiff and Defendant EQUIFAX

INFORMATION SERVICES, LLC, have reached a settlement of this case and are presently

drafting, finalizing, and executing the settlement and dismissal documents. Plaintiff respectfully

requests sixty (60) days to complete the necessary settlement paperwork and file the appropriate

dismissal documents with the Court.

Dated: July 24, 2024                                       Respectfully submitted

                                                           JAFFER & ASSOCIATES PLLC

                                                           /s/ Shawn Jaffer
                                                           Shawn Jaffer
                                                           State Bar No. 24107817
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Case 4:24-cv-00033-ALM Document 22 Filed 07/24/24 Page 2 of 2 PageID #: 121




                           CERTIFICATE OF SERVICE

       I hereby certify that on July 24, 2024, a true and correct copy of the foregoing document

has been filed on CM/ECF and which will automatically be served upon all parties of record.

                                                          /s/ Shawn Jaffer
                                                          Shawn Jaffer
